Appellate Case: 23-3103         Document: 010110892176               Date Filed: 07/21/2023        Page: 1



                               UNITED STATES OF COURT OF APPEALS
                                        FOR TIIE TENTH CIRCUIT


    ANTHONY THOMPSON


                                                                        No; 23-3103



    GLEN VIRDEN,. et al...



                  REQUEST FOR CONTINUANCE AND CHAN~E OF ADDRESS



            First Mr. Thompson would like to inform the court of his change of address. The current

    address is 1316 SW Western.Avenue apt 1 Topeka Kansas 66604. Same buildingjust a different

    apartment number.


            Second, Mr. Thompson has an opening brief which is currently due on or before 7-31-

    2023. The actual order which is under appeal :is docket 208 from the district court which

    previously consolidated case number 15-3093 with the current case. Both cases involve

    defendants Timothy Brown and Glen Virden. This is the second time this case has reached the

    appellate court. The previous appellate action went before the same panel and was issued on the

    same day. Mr. Thompson is requesting this court to continue his opening brief two weeks to 8-

    14-23 which is the same day the opening brief will be due in sister case (No. 23-3102). This

    request will likely assist all parties as well preserve judicial economy.
Appellate Case: 23-3103    Document: 010110892176   Date Filed: 07/21/2023   Page: 2



          Anthony Thompson

          1316 SW Western Avenue apt # 1

          Topeka Kansas 66604


          Acthompson8254@grnail.com
            Appellate Case: 23-3103     Document: 010110892176   Date Filed: 07/21/2023                             Page: 3




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